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                                       Presentment Date and Time: June 26, 2018 at 10:00 a.m. (Eastern Time)
                                                Objection Deadline: June 19, 2018 at 4:00 p.m. (Eastern Time)
                    Hearing Date and Time (Only if Objection Filed): June 26, 2018 at 11:00 a.m. (Eastern Time)
 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
 Gary T. Holtzer
 Robert J. Lemons
 Garrett A. Fail
 David N. Griffiths
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors.   1                               :        (Jointly Administered)
                                                              :
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                     NOTICE OF PRESENTMENT OF SUPPLEMENTAL
           APPLICATION OF THE DEBTORS PURSUANT TO 11 U.S.C. §§ 327(a)
        AND 328(a), FED. R. BANKR. P. 2014(a) AND 2016, AND LOCAL RULES 2014-1
       AND 2016-1 FOR AUTHORITY TO EXPAND THE RETENTIONS OF DELOITTE
       CONSULTING LLP NUNC PRO TUNC TO JANUARY 19, 2018 AND DELOITTE
     FINANCIAL ADVISORY SERVICES LLP NUNC PRO TUNC TO FEBRUARY 9, 2018


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.



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                     PLEASE TAKE NOTICE that on June 26, 2018 at 10:00 a.m. (Eastern Time),

 the undersigned will present the annexed Supplemental Application of the Debtors Pursuant To 11

 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and

 2016-1 for Authority to Expand the Retentions of Deloitte Consulting LLP Nunc Pro Tunc to

 January 19, 2018 and Deloitte Financial Advisory Services LLP Nunc Pro Tunc to February 9,

 2018 (the “Supplemental Application”) to the Honorable Michael E. Wiles, United States

 Bankruptcy Judge, in Room 617 of the United States Bankruptcy Court for the Southern District

 of New York, located at One Bowling Green, New York, New York, 10004

 (the “Bankruptcy Court”).

                     PLEASE TAKE FURTHER NOTICE that any responses or objections to the

 Supplemental Application (the “Objections”) must be in writing, shall conform to the Federal

 Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern District of New

 York, and shall be filed with the Bankruptcy Court (a) by registered users of the Bankruptcy

 Court’s case filing system, electronically in accordance with General Order M-399 (which can be

 found at http://nysb.uscourts.gov) and (b) by all other parties in interest, on a 3.5 inch disk, in text-

 searchable portable document format (PDF) (with a hard copy delivered directly to Chambers), in

 accordance with the customary practices of the Bankruptcy Court and General Order M-399, to

 the extent applicable, and served in accordance with General Order M-399 and the Order pursuant

 to 11 U.S.C. §105(a) and Fed. R. Bankr. P. 1015(c), 2002(m), and 9007 Implementing certain

 Notice and Case Management Procedures [ECF No. 101] so as to be received no later than

 June 19, 2018 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).

                     PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and

 served with respect to the Supplemental Application, the Debtors may, on or after the Objection


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 Deadline, submit to the Bankruptcy Court an order substantially in the form of the proposed order

 annexed to the Supplemental Application, which order may be entered with no further notice or

 opportunity to be heard.

                     PLEASE TAKE FURTHER NOTICE that if one or more Objections are

 received by the Objection Deadline, the Bankruptcy Court may enter an order granting the relief

 requested in the Motion, except for relief that impacts any party with a pending Objection, and that

 if a written Objection is timely filed and served, a hearing (the “Hearing”) will be held to consider

 such Objection(s) before the Honorable Michael E. Wiles in the Bankruptcy Court, on

 June 26, 2018 at 11:00 a.m. (Eastern Time).

                     PLEASE TAKE FURTHER NOTICE that objecting parties are required to

 attend the Hearing, and failure to appear may result in relief being granted upon default.

 Dated: New York, New York
        June 12, 2018

                                               /s/ Robert J. Lemons
                                               Gary T. Holtzer
                                               Robert J. Lemons
                                               Garrett A. Fail
                                               David N. Griffiths
                                               WEIL, GOTSHAL & MANGES LLP
                                               767 Fifth Avenue
                                               New York, New York 10153
                                               Telephone: (212) 310-8000
                                               Facsimile: (212) 310-8007

                                               Attorneys for Debtors
                                               and Debtors in Possession




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                                       Presentment Date and Time: June 26, 2018 at 10:00 a.m. (Eastern Time)
                                                Objection Deadline: June 19, 2018 at 4:00 p.m. (Eastern Time)
                    Hearing Date and Time (Only if Objection Filed): June 26, 2018 at 11:00 a.m. (Eastern Time)
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 New York, New York 10153
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors. 1                                 :        (Jointly Administered)
                                                              :
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 SUPPLEMENTAL APPLICATION OF THE DEBTORS PURSUANT TO 11 U.S.C. §§ 327(a)
     AND 328(a), FED. R. BANKR. P. 2014(a) AND 2016, AND LOCAL RULES 2014-1
      AND 2016-1 FOR AUTHORITY EXPAND THE RETENTIONS OF DELOITTE
     CONSULTING LLP NUNC PRO TUNC TO JANUARY 19, 2018 AND DELOITTE
   FINANCIAL ADVISORY SERVICES LLP NUNC PRO TUNC TO FEBRUARY 9, 2018




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
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 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
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 TO THE HONORABLE MICHAEL E. WILES,
 UNITED STATES BANKRUPTCY JUDGE:

                     Westinghouse Electric Company LLC and certain debtor affiliates, as debtors and

 debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

 respectfully             represent     in     support       of    this     supplemental      application

 (the “Supplemental Application”):

                                                  Background

                     1.        On March 29, 2017 (the “Petition Date”), each Debtor commenced with

 this Court a voluntary case under chapter 11 of title 11 of the United States Code

 (the “Bankruptcy Code”). The Debtors are authorized to continue to operate their businesses and

 manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No trustee or examiner has been appointed in these chapter 11 cases.

                     2.        The Debtors’ chapter 11 cases are being jointly administered for procedural

 purposes only pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”).

                     3.        On March 28, 2018, the Court entered an order [ECF No. 2988] confirming

 the Debtors’ Modified Second Amended Joint Chapter 11 Plan of Reorganization [ECF No. 2986]

 (the “Plan”).

                     4.        Additional information regarding the Debtors’ business, capital structure,

 and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

 Declaration of Lisa J. Donahue Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

 Southern District of New York [ECF No. 4], sworn to and filed on the Petition Date.

                    5.         On August 11, 2017, the Debtors filed an application, pursuant to sections

 327(a) and 328 (a) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules

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 2014-1 and 2016-1, to employ and retain Deloitte Financial Advisory Services LLP (“Deloitte

 FAS”) as their financial advisory services provider nunc pro tunc to the Petition Date

 [ECF No. 1129] (the “Deloitte FAS Application”).

                    6.           On September 5, 2017 the Court entered an order approving the FAS

 Retention Application on a final basis [ECF No. 1299] (the “FAS Retention Order”).

                     7.          On March 12, 2017, the Debtors filed an application, pursuant to sections

 327(a) and 328 (a) of the Bankruptcy Code, Rules 2014(a) and 2016 of the Bankruptcy Rules and

 Local Rules 2014-1 and 2016-1, to employ and retain Deloitte Consulting LLP

 (“Deloitte Consulting”) as a consultant nunc pro tunc to September 8, 2017 [ECF No. 2809]

 (the “Deloitte Consulting Application” and, together with the Deloitte FAS Application the

 “Original Applications”).

                     8.          Thereafter, on March 27, 2017, the Bankruptcy Court entered an order

 approving         the         Deloitte   Consulting    Retention    Application    [ECF     No.    2972]

 (the “Deloitte Consulting Retention Order” and, together with the Deloitte FAS Retention

 Order, the “Original Retention Orders”).

                                                    Jurisdiction

                    9.           The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and

 1334. This is a core proceeding under 28 U.S.C. § 157(b).

                                                 Relief Requested

                    10.          The Debtors seek authority pursuant to sections 327(a) and 328 of the

 Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-1, to

 expand the retentions and employments of: (a) Deloitte Consulting nunc pro tunc to January 19,

 2018 to include the services set forth in the parties’ work order, dated January 19, 2018, attached

 hereto as Exhibit A (the “Additional Consulting Services SOW”); and (b) Deloitte FAS nunc
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 pro tunc to February 9, 2018 to include the services set forth in the parties’ work order, dated

 February 9, 2018, attached hereto as Exhibit B (the “Additional Financial Services SOW” and

 together with the Additional Consulting Services SOW the “Additional Services SOWs”).

                    11.        In support of this Supplemental Application, the Debtors submit the

 Supplemental Declaration of Louis Librandi, a principal at Deloitte Consulting, attached hereto as

 Exhibit C (the “Librandi Supplemental Declaration”), and the Supplemental Declaration of

 Steven F. Stanton, a managing director at Deloitte FAS, attached hereto as Exhibit D

 (the “Stanton Supplemental Declaration” and, together with the Librandi Supplemental

 Declaration, the “Supplemental Declarations”).

                     12.       A proposed form of order granting the relief requested herein is annexed

 hereto as Exhibit E (the “Proposed Order”).

                                           The Additional Services

                     13.       The Debtors are seeking authority to expand the scope of the respective

 retentions of Deloitte Consulting and Deloitte FAS (together the “Deloitte Entities”) in order to

 assess various aspects of the business of Mangiarotti SpA (“Mangiarotti”), a wholly-owned

 indirect Italian subsidiary of Debtor Toshiba Nuclear Energy Holdings (UK) Limited.                As

 contemplated in the Additional Services SOWs, the Deloitte Entities, utilizing the Deloitte Touche

 Tohmatsu Limited member firm located in Italy (“Deloitte Italy”) as a subcontractor, agreed to

 perform the work as described in detail within the Additional Services SOWs including, but not

 limited to: (a) Deloitte Consulting evaluating potential systems applications and product (SAP)

 enterprise resource planning (ERP) implementation at Mangiarotti; and (b) Deloitte FAS analyzing

 financial information and other relevant data to assist the Debtors in their anti-corruption

 compliance review at Mangiarotti (collectively, the “Additional Services”).


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                                           Professional Compensation

                     14.       Subject to Court approval, and in compliance with the Order Pursuant to

 11 U.S.C. §§ 105(a), 330, 331 Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing

 Procedures for Interim Compensation and Reimbursement of Expenses of Professionals

 [ECF No. 544], the Debtors will compensate the Deloitte Entities for the Additional Services based

 upon the terms set forth in the Additional Services SOWs.

                     15.       Deloitte Consulting’s compensation for the work contemplated herein is a

 flat fee of $22,700, excluding expenses and applicable taxes.

                     16.       Deloitte FAS’s compensation for the work contemplated herein shall be

 based on the following hourly rates (which exclude expenses and applicable taxes):

                                       Professional Level           Hourly Rate
                                 Partner                                $565
                                 Senior Consultant                      $405
                                 Deloitte Italy Senior Consultant       $230

                     17.       The Deloitte Entities shall pay Deloitte Italy the fees that they bill to the

 Debtors for the services Deloitte Italy performs under the Additional Services SOWs. In addition,

 the Deloitte Entities will bill the Debtors for actual, necessary, and reasonable out-of-pocket

 expenses incurred in connection with the provisions of the Additional Services SOWs.

                     18.       As set forth in the Original Applications and in accordance with the Original

 Retention Orders, each Deloitte Entity will keep reasonably detailed time records for the work

 pertaining to the Additional Services SOWs. These time records shall contain detailed time entries

 describing the task(s) performed, and be organized by project category, as applicable.

 Additionally, each Deloitte Entity shall serve and file with the Court applications for interim and/or

 final Court approval and allowance pursuant to the applicable sections of the Bankruptcy Code,

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 the Fee Guidelines (as defined in the Original Applications), and the applicable orders of the Court

 of the compensation and reimbursement of expenses requested under the Additional Services

 SOWs.

                                          Deloitte’s Disinterestedness

                    19.        To the best of the Debtors’ knowledge except to the extent disclosed herein,

 in the Declarations, or in the Original Applications and the supporting declarations thereto: (a)

 each Deloitte Entity is a “disinterested person” within the meaning of section 101(14) of the

 Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code and does not hold or

 represent an interest adverse to the Debtors’ estates; and (b) each Deloitte Entity has no connection

 to the Debtors, their creditors or their related parties. To the extent that any new relevant facts or

 relationships bearing on the matters described herein during the period of the Deloitte Entities’

 retentions are discovered or arise, the Deloitte Entities will use reasonable efforts to file promptly

 a supplemental declaration, as required by Bankruptcy Rule 2014(a).

                                    Efforts to Avoid Duplication of Services

                     20.       The Deloitte Entities’ services are intended to complement, and not

 duplicate, the services to be rendered by any other professional retained by the Debtors in these

 chapter 11 cases. The Deloitte Entities have informed the Debtors that they understand that the

 Debtors have retained and may retain additional professionals during the term of the engagement

 and that the Deloitte Entities will use their reasonable efforts to work cooperatively with the




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 Debtors to integrate any respective work conducted by such professionals on behalf of the Debtors,

 to the extent any such integration is necessary.

                                                 Basis for Relief

                    21.        The Debtors seek authority to amend the employment and retention of the

 Deloitte Entities under section 327 of the Bankruptcy Code, which provides that a debtor is

 authorized to employ professional persons “that do not hold or represent an interest adverse to the

 estate, and that are disinterested persons, to represent or assist the [Debtor] in carrying out the

 [Debtor’s] duties under this title.” 11 U.S.C. § 327(a). Section 1107(b) of the Bankruptcy Code

 elaborates upon sections 101(14) and 327(a) of the Bankruptcy Code in cases under chapter 11 of

 the Bankruptcy Code and provides that “a person is not disqualified for employment under section

 327 of [the Bankruptcy Code] by a debtor in possession solely because of such person’s

 employment by or representation of the debtor before the commencement of the case.” 11 U.S.C.

 § 1107(b).

                    22.        The Debtors believe that the Deloitte Entities’ fees are reasonable in light

 of industry practice and should be approved. In addition, as noted above, the Deloitte Entities are

 “disinterested” and all of their fees and expenses are subject to approval of the Court in accordance

 with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Fee Guidelines, and further

 orders of the Court. Accordingly, the Court should approve the supplemental employment and

 retention of the Deloitte Entities pursuant to the terms set forth in the Additional Services SOWs.

                                                      Notice

                     23.       Notice of this Supplemental Application will be provided to the Rule 2002

 Parties set forth in the Order Pursuant to 11 U.S.C. §105(a) and Fed. R. Bankr. P. 1015(c),

 2002(m), and 9007 Implementing Certain Notice and Case Management Procedures [ECF No.


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 101]. The Debtors submit that, in view of the facts and circumstances, such notice is sufficient

 and no other or further notice need be provided.

                     24.       No previous request for the relief sought herein has been made by the

 Debtors to this or any other Court.

                     WHEREFORE the Debtors respectfully request entry of the Proposed Order

 granting the relief requested herein and such other and further relief as the Court may deem just

 and appropriate.

 Dated: June 12, 2018
        New York, New York

                                                  WESTINGHOUSE ELECTRIC COMPANY, LLC
                                                  (for itself and on behalf of its affiliates
                                                  as Debtors and Debtors in Possession)


                                                  /s/ Lisa J. Donahue
                                                  NAME: Lisa J. Donahue
                                                  TITLE: Chief Transition and Development Officer




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                                              EXHIBIT A

                                   Additional Consulting Services SOW




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                                             EXHIBIT B

                                   Additional Financial Services SOW




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                                             EXHIBIT C

                                   Librandi Supplemental Declaration




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                       :       Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY :                                      Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                                                              :
                   Debtors. 1                                 :       (Jointly Administered)
                                                              :
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 DECLARATION OF LOUIS LIBRANDI IN CONNECTION WITH THE APPLICATION
    OF DEBTORS PURSUANT TO 11 U.S.C. §§ 327(a) AND 328, FED. R. BANKR.
   P. 2014(a) AND 2016, AND LOCAL RULES 2014-1 AND 2016-1 FOR AN ORDER
     EXPANDING THE SCOPE OF THE RETENTION AND EMPLOYMENT OF
    DELOITTE CONSULTING LLP TO INCLUDE ADDITIONAL CONSULTING
                SERVICES NUNC PRO TUNC TO JANUARY 19, 2018

         Pursuant to 28 U.S.C. § 1746, I, Louis Librandi, under penalty of perjury, declare as

 follows:

         1.       I am a principal of the firm of Deloitte Consulting LLP (“Deloitte Consulting”),

 which has an office at 1700 Market Street, Suite 2700, Philadelphia, Pennsylvania 19103. I am

 duly authorized to make and submit this declaration (the “Supplemental Declaration”) on

 behalf of Deloitte Consulting as consultant to Westinghouse Electric Company LLC and certain

 above-captioned debtors and debtors in possession (collectively, the “Debtors”) in support of the
 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
 Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
 Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
 Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
 Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
 (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
 at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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 Application of Debtors Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014(a)

 and 2016, and Local Rules 2014-1 and 2016-1 for an Order Expanding the Scope of the

 Retention and Employment of Deloitte Consulting LLP to Include Additional Consulting Services

 Nunc Pro Tunc to January 19, 2018 (the “Supplemental Application”).

         2.      The statements set forth in this Supplemental Declaration are based upon my

 personal knowledge, upon information and belief, and/or upon client matter records kept in the

 ordinary course of business that were reviewed by me or personnel of Deloitte Consulting or its

 affiliates.

         3.      I previously submitted a declaration (the “Original Declaration”) in support of

 the Application of Debtors Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P.

 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for Authority to Employ and Retain

 Deloitte Consulting LLP for Consulting Services Nunc Pro Tunc to November 28, 2017 [Docket

 No. 2809] (the “Original Application”), so granted by order of the Court, dated March 27, 2018

 [Docket No. 2972] (the “Retention Order”). Capitalized terms not otherwise defined herein

 shall have the meanings ascribed to them in the Original Declaration or the Supplemental

 Application, as applicable.

         4.      This Supplemental Declaration is subject to the statements and qualifications set

 forth in the Original Declaration and the previously submitted supplemental declarations, which

 are incorporated herein by reference. As discussed in paragraph 10 of the Original Declaration, I

 stated that as additional material information was discovered, the Original Declaration would be

 supplemented.




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        5.      The Debtors have retained Deloitte Consulting to provide certain related

 consulting services to a non-Debtor affiliate in Italy, Manglarotti Spa, to evaluate a potential

 systems applications and products (SAP) enterprise resource planning (ERP) implementation,

 pursuant to a work order, dated January 19, 2018 (the “Additional Services SOW”), attached to

 the Supplemental Application as Exhibit B. The compensation for these services, as provided in

 the Additional Services SOW, is a flat fee of $22,700, excluding expenses and applicable taxes.

 Deloitte Consulting has engaged the DTT Member Firm in Italy (“Deloitte Italy”) as a

 subcontractor to perform certain of the services described in the Additional Services SOW.

 Deloitte Consulting shall pay Deloitte Italy a portion of the fixed fees that Deloitte Consulting

 bills to the Debtors for the services Deloitte Italy, as a subcontractor, performs under the

 Additional Services SOW.

        6.      In addition, Deloitte Consulting will bill the Debtors for actual, necessary, and

 reasonable out-of-pocket expenses and applicable taxes incurred in connection with the provision

 of the Additional Services.




 Dated: April 20, 2018                 By:   /s/ Louis Librandi________________
                                             Louis Librandi
                                             Principal
                                             Deloitte Consulting LLP




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                                             EXHIBIT D

                                   Stanton Supplemental Declaration




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                       :       Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY :                                      Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                                                              :
                   Debtors. 1                                 :       (Jointly Administered)
                                                              :
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       DECLARATION OF STEVEN F. STANTON IN CONNECTION WITH THE
       APPLICATION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 327(a) AND 328,
      FED. R. BANKR. P. 2014(a) AND 2016, AND LOCAL RULES 2014-1 AND 2016-1
         FOR AN ORDER EXPANDING THE SCOPE OF THE RETENTION AND
        EMPLOYMENT OF DELOITTE FINANCIAL ADVISORY SERVICES LLP
           TO INCLUDE ADDITIONAL FINANCIAL ADVISORY SERVICES
                      NUNC PRO TUNC TO FEBRUARY 9, 2018

          Pursuant to 28 U.S.C. § 1746, I, Steven F. Stanton, under penalty of perjury, declare as

 follows:

          1.       I am a managing director of the firm of Deloitte Financial Advisory Services LLP

 (“Deloitte FAS”), which has an office at 555 12th Street NW, Suite 400, Washington, D.C.

 20004.        I am duly authorized to make and submit this declaration (the “Supplemental

 Declaration”) on behalf of Deloitte FAS as financial advisory services provider to Westinghouse


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
 Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
 Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
 Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
 Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
 (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
 at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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 Electric Company LLC and certain above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) in support of the Application of Debtors Pursuant to 11 U.S.C. §§

 327(a) and 328(a), Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for

 an Order Expanding the Scope of the Retention and Employment of Deloitte Financial Advisory

 Services LLP to Include Additional Financial Advisory Services Nunc Pro Tunc to February 9,

 2018 (the “Supplemental Application”).

         2.    The statements set forth in this Supplemental Declaration are based upon my

 personal knowledge, upon information and belief, and/or upon client matter records kept in the

 ordinary course of business that were reviewed by me or personnel of Deloitte FAS or its

 affiliates.

         3.    I previously submitted a declaration (the “Original Declaration”) in support of

 the Application of Debtors Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P.

 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for Authority to Employ and Retain

 Deloitte Financial Advisory Services LLP for Financial Advisory Services Nunc Pro Tunc to the

 Petition Date [Docket No. 1129] (the “Original Application”), so granted by order of the Court,

 dated September 5, 2017 [Docket No. 1299] (the “Retention Order”).           I also previously

 submitted supplemental declarations in connection with the Original Application (see Docket

 Nos. 1129, 1555, 1628, and 3038). Capitalized terms not otherwise defined herein shall have the

 meanings ascribed to them in the Original Declaration or the Supplemental Application, as

 applicable.

         4.    This Supplemental Declaration is subject to the statements and qualifications set

 forth in the Original Declaration and the previously submitted supplemental declarations, which



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 are incorporated herein by reference. As discussed in paragraph 11 of the Original Declaration, I

 stated that as additional material information was discovered, the Original Declaration would be

 supplemented.

        5.       The Debtors have retained Deloitte FAS to provide certain services to assist in

 analyzing the Debtors’ anti-corruption compliance review at the Debtors’ locations in Italy

 pursuant to a work order dated February 9, 2018 (the “Additional Services SOW”), issued

 under and pursuant to the terms of the MSA. The Additional Services SOW is attached (with the

 MSA) to the Supplemental Application as Exhibit B. Deloitte FAS has engaged the DTT

 Member Firm in Italy (“Deloitte Italy”) as a subcontractor to perform certain of the services

 described in the Additional Services SOW. The compensation for these services, as provided in

 the Additional Services SOW, will be billed at the following hourly rates (which exclude

 expenses and applicable taxes):

                                 Professional Level          Hourly Rate
                          Partner                                $565
                          Senior Consultant                      $405
                          Deloitte Italy Senior Consultant       $230


 Deloitte FAS shall pay Deloitte Italy the portion of the fees that Deloitte FAS bills to the Debtors

 for the services Deloitte Italy, as a subcontractor, performs under the Additional Services SOW.




 Dated: April __, 2018                  By:    /s/ Steven F. Stanton________________
                                               Steven F. Stanton, Managing Director
                                               Deloitte Financial Advisory Services LLP




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                                            EXHIBIT E

                                          Proposed Order




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors.   1                               :        (Jointly Administered)
                                                              :
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             ORDER AUTHORITY TO RETAIN AND EMPLOY DELOITTE
       CONSULTING LLP NUNC PRO TUNC TO JANUARY 19, 2018 AND DELOITTE
     FINANCIAL ADVISORY SERVICES LLP NUNC PRO TUNC TO FEBRUARY 9, 2018

                     Upon      the     Supplemental         Application,        dated      June      12,      2018

 (the “Supplemental Application”), of Westinghouse Electric Company LLC and certain of its

 affiliates, as debtors and debtors in possession (collectively, the “Debtors”), pursuant to sections

 327(a) and 328(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014 and

 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2014-1

 and 2016-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

 Bankruptcy Court for the Southern District of New York (the “Local Rules”) for authority to

 expand the retentions of Deloitte Consulting LLP (“Deloitte Consulting”) nunc pro tunc to




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.



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 January 19, 2018 and Deloitte Financial Advisory Services LLP (“Deloitte FAS” and, together

 with Deloitte Consulting, the “Deloitte Entities”) nunc pro tunc to February 9, 2018, all as more

 fully set forth in the Supplemental Application; and upon the Supplemental Declaration of Louis

 Librandi and the Supplemental Declaration of Steven F. Stanton; and this Court having jurisdiction

 to consider the Supplemental Application and the relief requested therein pursuant to 28 U.S.C.

 §§ 157 and 1334 and the Amended Standing Order M-431, dated January 31, 2012 (Preska, C.J.);

 and consideration of the Supplemental Application and the relief requested therein being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Supplemental Application having

 been provided as set forth therein, and it appearing that no other or further notice need be provided

 and this court having reviewed the Supplemental Application; and this Court being satisfied that

 the Deloitte Entities have the capability and experience to provide the services described in the

 Supplemental Application and that the Deloitte Entities do not hold an interest adverse to the

 Debtors or their estates with respect to the matters upon which they are to be engaged; and it

 appearing that the relief requested in the Supplemental Application is in the best interests of the

 Debtors, their estates, its creditors, and other parties in interest; and after due deliberation thereon;

 and good and sufficient cause appearing therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.        The Supplemental Application is granted to the extent set forth herein.

                     2.        Pursuant to sections 327(a) and 328 of the Bankruptcy Code, Bankruptcy

 Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-1, the Debtors are hereby authorized

 but not directed to (a) expand the retention and employment of the Deloitte Consulting nunc pro

 tunc to January 19, 2018 to perform the services described in the work order dated January 19,

 2018        and          attached    as    Exhibit     A     to    the     Supplemental      Application

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 (the “Deloitte Consulting Work Order”) and (b) expand the retention and employment of

 Deloitte FAS nunc pro tunc to February 19, 2018 to perform the services described in the work

 order dated February 9, 2018 and attached as Exhibit B to the Supplemental Application (the

 “Deloitte FAS Work Order” and together with the Deloitte Consulting Work Order,

 the “Work Orders”).

                     3.        The Deloitte Entities shall be compensated for their services under the Work

 Orders in accordance with the terms of the Supplemental Application, sections 330 and 331 of the

 Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Order Pursuant to 11 U.S.C. §§

 105(a), 330, 331 Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing Procedures for

 Interim Compensation and Reimbursement of Expenses of Professionals [ECF No. 544], the Order

 Pursuant to 11 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules

 2014-1 and 2016-1 for Authority to Employ and Retain Deloitte Financial Advisory Services LLP

 as Financial Advisory Services Provider Nunc Pro Tunc to the Petition Date [ECF No. 1299] (the

 “Deloitte FAS Retention Order”), the Order Pursuant to 11 U.S.C. §§ 327(a) and 328, Fed. R.

 Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for Authority to Employ and

 Retain Deloitte Consulting LLP for Consulting Services Nunc Pro Tunc to November 28, 2017

 [ECF No. 2972] (the “Deloitte Consulting Retention Order” and together with the Deloitte FAS

 Retention Order the “Original Retention Orders”), and any other applicable procedures and

 orders of this Court.

                     4.        All modifications made to the Master Services Agreement by the Original

 Retention Orders shall also apply to the Work Orders.

                     5.        Nothing contained in this Order, nor any payment made pursuant to this

 Order, shall be dispositive with respect to any future allocation of responsibility between and


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 among Debtors and non-Debtors for such payment, and all rights with respect thereto are expressly

 reserved by the Unsecured Creditors’ Committee.

                     6.        The Debtors are authorized to take all action necessary to carry out this

 Order.

                     7.        Notwithstanding anything in the Supplemental Application or the Work

 Orders to the contrary, during the pendency of the Chapter 11 Cases, this Court retains exclusive

 jurisdiction over all matters arising out of and/or pertaining to the Deloitte Entities’ engagements.

 Any provisions of the Work Orders that provides for mediation or arbitration or for jurisdiction in

 a different court shall not be applicable unless this Court lacks jurisdiction pursuant to the previous

 sentence.


 Dated: ________________, 2018
        New York, New York
                                                            ____________________________________

                                                            UNITED STATES BANKRUPTCY JUDGE




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